Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 1 of 12 PageID 258




                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                      FORT MYERS DIVISION

UNITED STATES OF AMERICA


v.                                          CASE NO. 2:21-cr-83-TPB-NPM

MARK A. GYETVAY,

      Defendant.
__________________________/

     RESPONSE IN OPPOSITION TO UNITED STATES’ MOTION
      TO EXCLUDE TIME PURSUANT TO 18 U.S.C. § 3161(h)(8)

      On September 22, 2021, a grand jury returned a 15-count indictment

charging Mr. Gyetvay (the “Indictment”) with allegations all of which relate to

the filing or non-filing of United States income tax returns and reports of

foreign bank accounts (“FBARs”). On September 23, 2021, Mr. Gyetvay was

arrested after dropping his two daughters off at their middle school. Later that

day, the United States Department of Justice Tax Division (hereinafter, the

“government”) appeared before the Honorable Douglas N. Frazier for Mr.

Gyetvay’s initial appearance, arraignment, and bond hearing. At that hearing,

the government attorney touted the strength of the case in support for what he

admitted were “extraordinary” bail terms. See Exhibit 1, Tr. of Sept. 23, 2021

Hearing at p.14:7-10. Counsel for the government repeatedly referred to the

government’s “powerfully strong” case and represented that it is in possession


                                       1
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 2 of 12 PageID 259




of “numerous reams of documentary evidence.” See id. at p.12:3-5 and 18-20,

p.13:13-14. The government recently produced to Mr. Gyetvay’s counsel

approximately 211,000 documents. Only six days after touting the strength of

the government’s case and the evidence supporting the Indictment, the

government filed a motion to delay Mr. Gyetvay’s trial under 18 U.S.C. §

3161(h)(8), the Speedy Trial Act (“STA”), by six months to a year because the

government needs more time to gather foreign evidence to support its case. See

Mot. to Exclude Time Pursuant to 18 U.S.C. § 3161(h)(8), ECF Doc. 26 (the

“STA Exclusion Motion”).

      This is the third time that the government has applied for delays

relating to its foreign evidence requests. See Exhibits A and B attached to STA

Exclusion Motion (ECF Docs. 26-1 and 26-2). If the government has a

“powerfully strong” case against Mr. Gyetvay with “numerous reams of

documentary evidence,” Mr. Gyetvay should be afforded his right to a speedy

trial and the government’s request for exclusion of time should be denied.

      Mr. Gyetvay has suffered and continues to suffer harm arising from the

Indictment and “extraordinary” release conditions currently in place (which

Mr. Gyetvay, by separate motion, will request be modified). Mr. Gyetvay’s right

to a speedy trial under the Sixth Amendment and the Speedy Trial Act should

not be abrogated by the government’s gamesmanship in this case.



                                       2
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 3 of 12 PageID 260




I.      BACKGROUND

        The government has been investigating Mr. Gyetvay since at least 2018. 1

In 2018 and 2019, Mr. Gyetvay’s accountants produced workpapers, bank

records, account opening documents, and other materials to the government

totaling over 18,000 pages. Included in those productions were records from

three Swiss banks: Coutts, Hyposwiss, and Falcon. Those productions

specifically included account statements and account valuations for the Coutts,

Hyposwiss, and Falcon accounts from 2005 through October 2015 when

substantially all of Mr. Gyetvay’s assets were transferred to J.P. Morgan Chase

Bank in the United States. Coutts, Hyposwiss, and Falcon all entered the

Department of Justice’s (“DOJ”) Swiss Bank Program 2 and are required to

cooperate with any DOJ investigation, including, authenticating records. See,

e.g., Exhibit 2, Coutts/DOJ Non-Prosecution Agreement dated Dec. 23, 2015.

In addition, Mr. Gyetvay’s ex-wife—Nadezda Gavrilova—received immunity

from the government and thereafter produced account records and other bank




1
    Mr. Gyetvay has been represented by counsel since 2018.
2The “Swiss Bank Program” was a program announced in 2013 by the
Department of Justice which allowed Swiss banks that met certain criteria to
resolve potential criminal liabilities in the United States. Swiss banks that
met all of the government’s criteria were eligible for a non-prosecution
agreement. See generally, “Swiss Bank Program” available at:
https://www.justice.gov/tax/swiss-bank-program (last accessed Oct. 21, 2021).


                                        3
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 4 of 12 PageID 261




documents that she received from Coutts, Hyposwiss, and Falcon totaling

approximately 1,300 pages.

      The government concedes that the only two outstanding requests for

foreign evidence are: (1) a December 3, 2019 request to Switzerland relating to

records held by Coutts relating to two entities: Opotiki Marketing Ltd.

(“Opotiki”) and Felicis Commercial Corp. Ltd. (Felicis) (the “Opotiki and Felicis

Foreign Evidence Request”); and (2) a January 21, 2021 Mutual Legal

Assistance Treaty request to the United Kingdom (the “UK MLAT Request”).

Pursuant to the UK MLAT Request transmittal letter, the government

requested information relating to London Stock Exchange Group, the UK

Financial Conduct Authority, Morgan Stanley & Co. International plc,

Illuminum Incorporated Ltd., BDO LLP, and two redacted individuals or

entities. See Exhibit 3, Jan. 20, 2021, Letter to HM Revenue and Customs

enclosing the UK MLAT Request. The government has refused to produce the

underlying treaty request and should be required to produce an unredacted

copy of the transmittal letter.

      The government has not alleged that Mr. Gyetvay had foreign bank

accounts in the United Kingdom or that any of the conduct relating to the

offenses had any nexus to or relationship with the United Kingdom. In fact,

the words “United Kingdom” do not appear anywhere in the Indictment. The

government’s reliance on a foreign evidence request to the United Kingdom

                                       4
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 5 of 12 PageID 262




that is unrelated to any of the counts brought in the Tax Division’s Indictment

and is therefore clearly an attempt to use 18 U.S.C. § 3161(h)(8) to gain a

tactical advantage. See United States v. Meador, 138 F.3d 986, 994 (5th Cir.

1998) (affirming dismissal of indictment on other grounds but holding that a

similar tolling provision, 18 U.S.C. § 3292, “should not be an affirmative benefit

to prosecutors … [i]t is not a statutory grant of authority to extend the

limitations period by three years at the prosecutors’ option.”).

II.   ARGUMENT

      A.    The Government Touted the Strength of Its Case Therefore
            No Additional Foreign Evidence is Needed

            1.    Counts One Through Three of the Indictment are Unrelated
                  to the Government’s Pending Foreign Evidence Requests

      For 2006 through 2008, the government alleges that Mr. Gyetvay aided

or assisted in the preparation of false tax returns in violation of 26 U.S.C. §

7206(2). Specifically, the government alleges that the false material matters

on those returns were: (1) the income reported on line 22; and (2) the location

of foreign accounts – Russia on schedule B, line 7b and the jurat. The 2006

through 2008 tax returns were prepared by Mr. Gyetvay’s accountants and the

government has conceded that it has “numerous reams of documentary

evidence” from Mr. Gyetvay’s accountants. See Exhibit 1 Tr. of Sept. 23, 2021

Hearing at p. 12:18-25. In addition, the government obtained approximately

179,000 documents for the period 2005 to 2019 from Mr. Gyetvay’s email


                                        5
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 6 of 12 PageID 263




services provider (the “email search warrant”). The evidence for the alleged

2007 unreported income from a call option was obtained by the government

pursuant to the email search warrant. Furthermore, the government has the

Coutts account statements for 2006 through 2008 relating to Opotiki and

Felicis. From an initial review of discovery provided by the government, these

account statements are already in the government’s possession.

      The Opotiki and Felicis Foreign Evidence Request was made for “Tax

Year: 2009 – 2018” and thus does not include the 2006 through 2008 tax years.

See Exhibit 4, Dec. 3, 2019, Letter to Swiss Federal Tax Administration

enclosing the Opotiki and Felicis Foreign Evidence Request. 3 Furthermore,

the government has access to Mr. Gyetvay’s email from 2005 through 2019

which it clearly used in preparing the Indictment. Other than the “Total

Income” on lines 22 of those returns, the government asserts that the only

other false and material matter on those returns was the location of foreign

accounts in Russia—which it concedes has already taken “final action” with

respect to the January 8, 2020 request cited in the STA Exclusion Motion.

Finally, nothing in these counts (or anywhere else in the Indictment)




3 The government has refused to produce the underlying Opotiki and Felicis treaty
request that accompanied the December, 3 2019 letter to the Swiss Federal Tax
Administration.

                                       6
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 7 of 12 PageID 264




implicates any conduct in, or foreign evidence attributable to, the United

Kingdom.

            2.    Count Four of the Indictment is Unrelated to the
                  Government’s Pending Foreign Evidence Requests

      For 2009, the government alleges in Count Four of the Indictment that

Mr. Gyetvay attempted to evade or defeat tax in violation of 26 U.S.C. § 7201.

First, the government ignores the fact that Mr. Gyetvay filed his 2009 federal

income tax return on April 3, 2017, and paid all of the tax, interest, and

penalties due and owing with respect to that return. The government does not

allege that any portion of the 2009 federal income tax return filed on April 3,

2017, was incorrect or that Mr. Gyetvay owes any tax due and owing with

respect to 2009. Paragraph 42 of the Indictment also alleges “affirmative acts

of evasion.” To the extent that those alleged acts relate to the Coutts,

Hyposwiss, and Falcon accounts, the government is already in possession of

the relevant records. The government does not have an outstanding foreign

evidence request relating to Hyposwiss or Falcon. Moreover, as discussed

above, Mr. Gyetvay, accountants, and his ex-wife have produced records

relating to the Coutts accounts that are the subject of the foreign evidence

request. Finally, nothing alleged in Count Four implicates any conduct in, or

foreign evidence attributable, to the United Kingdom.




                                      7
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 8 of 12 PageID 265




            3.    Counts Five Through Nine of the Indictment are Unrelated
                  to the Tax Division’s Pending Foreign Evidence Requests

      For 2010 through 2014, the government alleges in Counts Five through

Nine that Mr. Gyetvay failed to file tax returns in violation of 26 U.S.C. § 7203.

Mr. Gyetvay filed his 2010 federal income tax return on April 3, 2017; his 2011-

2013 tax returns on August 15, 2015 in accordance with the IRS’s Voluntary

Disclosure Program; 4 and his 2014 tax return on March 29, 2017. When those

returns were filed Mr. Gyetvay paid all tax, interest, and penalties due and

owing to the United States. In addition, the government has not alleged that

any of the returns for the 2010 through 2014 tax years are false or incorrect.

The 2010 through 2014 tax returns were prepared by Mr. Gyetvay’s

accountants. The government subpoenaed those accountants and received

records relating to the preparation and filing of Mr. Gyetvay’s 2010 through

2014 tax returns. As Mr. Gyetvay has filed returns showing his income for each

of the years and his correspondence with his tax preparers has previously been

provided to the government (and was not the subject of the foreign evidence

requests underlying the SOL Tolling Orders), there is no conceivable

connection between the required elements of 26 U.S.C. § 7203 and the STA

Exclusion Motion. Finally, nothing alleged in Counts Five through Nine



4
 For more information on the IRS’s Voluntary Disclosure Program, see Motion for
Modification of Release Conditions, ECF Doc. 41 at pp. 3-7.

                                        8
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 9 of 12 PageID 266




implicates any conduct in, or foreign evidence attributable, to the United

Kingdom.

            4.    Counts Eleven and Twelve of the Indictment are Unrelated to
                  the Government’s Pending Foreign Evidence Requests

      For 2014 and 2015, the government also asserts in Counts Eleven and

Twelve that Mr. Gyetvay failed to file FBARs with respect to the Opotiki

account held at Falcon. Mr. Gyetvay timely filed his FBAR relating to 2014 on

June 25, 2015. 5 That 2014 FBAR was amended on or about March 28, 2017 at

which time it reported information relating to the Opotiki account held at

Falcon. Mr. Gyetvay timely filed his FBAR relating to 2015 on June 15, 2016. 6

That 2015 FBAR was amended on or about March 28, 2017 at which time it

reported information relating to the Opotiki account held at Falcon. As Mr.

Gyetvay timely filed FBARs for 2014 and 2015 (which were amended in 2017

before the Tax Division began its investigation) and bank records relating to

the Opotiki account at Falcon are already in the government’s possession (and

were not the subject of the foreign evidence requests underlying the SOL

Tolling Orders), there is no conceivable connection between the required

elements of 31 U.S.C. § 5322 and the STA Exclusion Motion. Finally, nothing



5
 The government admits that Mr. Gyetvay made an FBAR submission to the
Department of Treasury on or about June 25, 2015. See Indictment at ¶31, ¶52.
6The government admits that Mr. Gyetvay made an FBAR submission to the
Department of Treasury on or about June 15, 2016. See Indictment at ¶32, ¶52.

                                      9
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 10 of 12 PageID 267




 alleged in the Indictment implicates any conduct in, or foreign evidence

 attributable, to the United Kingdom. Accordingly, given the foregoing, it is

 clear that the government’s attempt to abrogate Mr. Gyetvay’s constitutional

 and statutory rights to a speedy trial is in no way connected to the outstanding

 foreign evidence requests.

 III.   CONCLUSION

        The government’s representations to the Magistrate Court during the

 bond hearings in this case indicated that it already has all the evidence it needs

 for Mr. Gyetvay’s trial. Furthermore, for the reasons set out above, there is no

 connection between the pending foreign evidence requests and the Indictment

 filed in this case. Accordingly, the Court should deny the government’s STA

 Exclusion Motion and proceed with a speedy trial.




                                        10
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 11 of 12 PageID 268




                                    Respectfully submitted,



                                    /s/ Kevin Downing
                                    Kevin Downing
                                    (Admitted pro hac vice)
                                    Law Offices of Kevin Downing
                                    601 New Jersey Avenue NW
                                    Suite 620
                                    Washington, D.C. 20001
                                    Tel: 202-754-1982
                                    Email: kevindowning@kdowninglaw.com
                                    Attorney for Defendant Mark A. Gyetvay



                                    /s/ Matthew J. Mueller
                                    Matthew J. Mueller, FBN: 0047366
                                    FOGARTY MUELLER HARRIS, PLLC
                                    100 E. Madison Street
                                    Suite 202
                                    Tampa, Florida 33602
                                    Tel: 813-682-1730
                                    Fax: 813-682-1731
                                    Email: matt@fmhlegal.com
                                    Attorney for Defendant Mark A. Gyetvay




                                      11
Case 2:21-cr-00083-TPB-NPM Document 42 Filed 10/21/21 Page 12 of 12 PageID 269




                        CERTIFICATE OF SERVICE


       I hereby certify that on October 21, 2021, I electronically filed the

 foregoing with the Clerk of Court by using the Court’s CM/ECF system,

 thereby serving this document on all parties of record in this case.



                                      /s/ Matthew J. Mueller
                                      Matthew J. Mueller, FBN: 0047366
                                      Attorney for Defendant Mark A. Gyetvay




                                        12
